         Case 1:24-cv-03149-TOR                    ECF No. 19            filed 05/22/25      PageID.1108             Page 1 of
                                                                     1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                           FILED IN THE
                                                                                                            U.S. DISTRICT COURT
                                                                  for th _                            EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                                                                                                       May 22, 2025
                                                                                                             SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No.
                                                                     )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

   the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                                the amount of
                                                                            dollars ($             ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of           % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .
    other:




This action was (check one):
   tried by a jury with Judge                                                                        presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge




Date:                                                                       CLERK OF COURT




                                                                                              Deputy Clerk
